                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                               No. 5:24-cv-00713-D-RN

GREGORY ALLEN                                  )
                                               )
                                               )     ORDER TO STAY PROCEEDINGS
                                               )
               ~                               )
                                               )
 STORR OFFICE ENVIRONMENTS, INC.               )
                                               )
                                               )


       Pursuant to the joint motion of the parties, IT IS HEREBY ORDERED that this matter is

stayed for ninety (90) days through and including May 20, 2025.



SO ORDERED. This the_!!_ day of February, 2025.




                                           J A s C. DEVER III
                                           United States District Judge




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